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UNITED STATE DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
___________________________________________X

UNITED STATES OF AMERICA,
                                                            SUPPLEMENTAL SENTENCING
– against –                                                 MEMORANDUM

ALEX JUSTO,                                                 11 Cr. 1072 (DLC)

                              Defendant.
___________________________________________X

       We respectfully submit this Supplemental Sentencing Memorandum on behalf of Alex

Justo. Mr. Justo is scheduled to appear before Your Honor for sentencing on August 9, 2013, at

10:00 a.m. Attached to this Memorandum are additional letters of support, including a letter

from Mr. Justo’s mother, Miledys Justo, and his partner, Fresa Ferrand. We also attach a letter

from Mr. Justo’s current employer, Roberto Francisco, as well as proof of employment from his

former employer, WC Transportation Service Group, Inc.



Dated: August 6, 2013
       New York, New York


                                                    DAWN M. CARDI & ASSOCIATES

                                                           /s/
                                                    _______________________________
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